     Case 3:17-cv-01112-JLS-NLS Document 222 Filed 06/03/21 PageID.9010 Page 1 of 2



 1
 2
 3
 4
 5
 6
 7
 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11    SYLVESTER OWINO and JONATHAN                     Case No.: 17-CV-1112 JLS (NLS)
      GOMEZ, on behalf of themselves and all
12
      others similarly situated,                       ORDER VACATING HEARING AND
13                                   Plaintiffs,       TAKING MATTER UNDER
                                                       SUBMISSION WITHOUT ORAL
14    v.                                               ARGUMENT
15
      CORECIVIC, INC., a Maryland
                                                       (ECF No. 220)
16    corporation,
17                                  Defendant.
18    CORECIVIC, INC.,
19                           Counter-Claimant,
20
      v.
21
      SYLVESTER OWINO and JONATHAN
22
      GOMEZ, on behalf of themselves and all
23    others similarly situated,
24                         Counter-Defendants.
25
26          Presently before the Court is Defendant and Counter-Claimant CoreCivic, Inc.’s
27    Motion to Stay Proceedings Pending Appeal (ECF No. 220). The Court VACATES the
28    ///

                                                   1
                                                                            17-CV-1112 JLS (NLS)
     Case 3:17-cv-01112-JLS-NLS Document 222 Filed 06/03/21 PageID.9011 Page 2 of 2



 1    hearing set for June 10, 2021 and takes the matter under submission without oral argument
 2    pursuant to Local Rule 7.1(d)(1).
 3          IT IS SO ORDERED.
 4    Dated: June 3, 2021
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                  2
                                                                             17-CV-1112 JLS (NLS)
